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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
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                                  Filed
                                     61206/18/25  Page 9 of 65 PageID 52102
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                                  #: 61306/18/25  Page 10 of 65 PageID 52103
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                                  #: 61406/18/25  Page 11 of 65 PageID 52104
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                                  #: 61506/18/25  Page 12 of 65 PageID 52105
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                                  #: 61706/18/25  Page 14 of 65 PageID 52107
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                                  #: 61806/18/25  Page 15 of 65 PageID 52108
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                                  #: 61906/18/25  Page 16 of 65 PageID 52109
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                                  #: 62006/18/25  Page 17 of 65 PageID 52110
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                                  #: 62106/18/25  Page 18 of 65 PageID 52111
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                                  #: 62206/18/25  Page 19 of 65 PageID 52112
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                                  #: 62306/18/25  Page 20 of 65 PageID 52113
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                                  #: 62406/18/25  Page 21 of 65 PageID 52114
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                                  #: 62506/18/25  Page 22 of 65 PageID 52115
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                                  #: 62706/18/25  Page 24 of 65 PageID 52117
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                                  #: 62906/18/25  Page 26 of 65 PageID 52119
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                                  #: 63006/18/25  Page 27 of 65 PageID 52120
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                                  #: 63106/18/25  Page 28 of 65 PageID 52121
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                                  #: 63706/18/25  Page 34 of 65 PageID 52127
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                                  #: 63906/18/25  Page 36 of 65 PageID 52129
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                                  #: 65006/18/25  Page 47 of 65 PageID 52140
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